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                    IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAI`I

UNITED STATES OF AMERICA,    )              CR NO. 05-00189-03 DAE
                             )
               Plaintiff,    )              ACCEPTANCE OF PLEA OF GUILTY,
     vs.                     )              ADJUDICATION OF GUILT AND NOTICE
                             )              OF SENTENCING
SHAWNA KAULUKUKUI (03),      )
                             )
               Defendant.    )
____________________________ )


                          ACCEPTANCE OF PLEA OF GUILTY,
                            ADJUDICATION OF GUILT AND
                               NOTICE OF SENTENCING

               Pursuant to the Report and Recommendation of the United

States       Magistrate    Judge,   to    which   there   has   been   no   timely

objection, the plea of guilty to Counts 1 and 16 of the Indictment

is now Accepted and the Defendant is Adjudged Guilty of such

offense. All parties shall appear before this Court for sentencing

as directed.

               IT IS SO ORDERED.

               DATED: Honolulu, Hawai`i, November 16, 2006.




                                         _____________________________
                                         David Alan Ezra
                                         United States District Judge




GUILTY.ACP
